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                          UNITED STATES BANKRUPTCY COURT

                               SOUTHERN DISTRICT OF IOWA

 In re:                                        )   Case No.: 20-02011-als11
                                               )
 METRO CONCRETE, INC.                          )   Chapter 11
                                               )   (Subchapter V)
          Debtor and Debtor in Possession      )
                                               )   Hon. Anita L. Shodeen
             th
 1713 S. 11 Ave E                              )
 Newton, IA 50208                              )   DEBTOR’S APPLICATION TO
                                               )   EMPLOY MICHAEL A. BRANDESS
                                               )   ESQ., MARK MELICKIAN, ESQ. AND
                                               )   SUGAR, FELSENTHAL, GRAIS &
 EIN: XX-XXXXXXX                               )   HELSINGER LLP, AS SPECIAL
                                               )   CONFLICTS COUNSEL TO THE
                                               )   DEBTOR
                                               )
                                                   No Hearing Set

          Metro Concrete, Inc. (“Debtor” or “Metro”), Debtor and Debtor-in-Possession in the

 above-captioned case, by and through its proposed General Reorganization Counsel, Jeffrey D.

 Goetz, Esq., of the law firm Bradshaw, Fowler, Proctor & Fairgrave, P.C., submits this

 application (“Application”) to the Court for the entry of an order authorizing the employment

 and retention of Michael A. Brandess, Esq., Mark S. Melickian, Esq. and Sugar, Felsenthal,

 Grais & Helsinger LLP, (“SFGH”), as its Special Conflicts Counsel to Debtor, pursuant to

 Bankruptcy Code Section 327 and Rules 2014 and 2016 of the Federal Rules of Bankruptcy

 Procedure (“Bankruptcy Rules”). In support of the Application, Debtor submits the declarations

 of Michael A. Brandess (“Brandess Declaration”), and Mark S. Melickian (“Melickian

 Declaration”) attached hereto as Exhibit “A” and incorporated by reference herein, and

 represents as follows:




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                                  JURISDICTION AND VENUE

        1.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. sections 157

 and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(B)(2). The venue of the

 Debtor’s Chapter 11 case and this Application is proper pursuant to 28 U.S.C. sections 1408 and

 1409. The statutory predicates for the relief requested herein are Bankruptcy Code section 327

 and Bankruptcy Rules 2014 and 2016.

                                          BACKGROUND

        2.      Pursuant to the Resolution of the Shareholders of Metro, Debtor has authorized

 the retention of SFGH as Special Conflicts Counsel to the Debtor.

                                      RELIEF REQUESTED

        3.      Debtor requests that SFGH serve as Special Conflicts Counsel. The focus of

 SFGH will be to assist Debtor, to the extent Bradshaw, Fowler, Proctor & Fairgrave, P.C.

 (“Bradshaw”) has a conflict of interest. Debtor will employ SFGH as separate “conflicts”

 counsel for that purpose.     After a diligent search of its electronic client database for its

 connections to known creditors of Debtor, Bradshaw, to the best of Bradshaw’s knowledge,

 information, and belief, does not have any direct conflict of interest, however, there may arise a

 potential conflict of interest due to an existing attorney-client relationship with Caterpillar Inc.,

 and Caterpillar Financial Services Corp.

        4.      SFGH will coordinate with Debtor and Bradshaw to avoid any duplication of

 services. SFGH will defer to Bradshaw as General Reorganization Counsel on all such points

 and, if the Court determines that any such services are duplicative, SFGH recognizes that it will

 not be entitled to compensation therefor.




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                                        QUALIFICATIONS

        5.      Debtor selected SFGH to serve as its Special Conflicts Counsel, because its

 shareholders and associates have considerable expertise in the fields of bankruptcy, insolvency,

 reorganizations, liquidations, debtors and creditors rights, debt restructuring and corporate

 reorganizations, commercial litigation, and business transactions. Debtor believes that SFGH is

 qualified to represent it in this Chapter 11 case.

        6.      Michael A. Brandess, Esq. and Mark Melickian, Esq. will be primarily

 responsible for SFGH’s Special Conflicts Counsel representation of Debtor in this matter.

        7.      Brandess and Melickian are partners at SFGH and for several years, have

 concentrated in bankruptcy, debtors and creditors rights, and restructuring business law.

 Brandess and Melickian have counseled large and small corporations, debtors, creditors, equity

 holders, landlords and tenants, trustees, and investors and purchasers in hundreds of commercial

 bankruptcy proceedings. They have also conducted out-of-court workouts and restructurings.

        8.      SFGH is willing to represent and act on behalf of Debtor and render the necessary

 professional services as special reorganization and conflicts counsel to Debtor.

                         DISINTERESTEDNESS OF PROFESSIONALS

        9.      To the best of Debtor’s knowledge, information and belief, and except as set forth

 in the Brandess and Melickian Declarations, Debtor believes that SFGH does not hold or

 represent any interest adverse to Debtor or its estate, and that SFGH is a “disinterested person”

 as defined in 11 U.S.C. § 101(14). See Exhibit “A”—Brandess and Melickian Declarations.

        10.     Debtor has only a handful of creditors, and SFGH, as stated in the supporting

 Brandess and Melickian Declarations, have no conflicts related to Debtor. Due to the size of this

 case, it would be difficult for the Debtor to find available counsel, other than SFGH, with unique

 experience in representing debtors in Chapter 11 cases and the staffing and other resources


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 necessary to serve as special conflicts counsel, who does not have similar creditor and party-in-

 interest connections to that of SFGH.         Debtor’s estate will benefit from SFGH’s unique

 experience in this area. Should any actual conflict arise between SFGH and any creditor or other

 interested party in the bankruptcy proceedings, SFGH will immediately notify Bradshaw, whose

 Application for Employment is filed contemporaneously herewith.

                            PROFESSIONAL FEES AND EXPENSES

        11.     Subject to this Court’s approval after application, notice, and a hearing pursuant

 to Bankruptcy Code section 330 and Bankruptcy Rule 2016, SFGH will charge for its legal

 services on an hourly basis in accordance with its ordinary and customary hourly rates for

 services of this type and nature and for this type of matter in effect on the date such services are

 rendered and for its actual, reasonable and necessary out-of-pocket disbursements incurred in

 connection therewith. The following are SFGH’s current hourly rates for work of this nature:

                (a)         Shareholders: $500.00 (Blended rate)

                (b)         Paraprofessionals: $250.00

        12.     SFGH has not received a retainer in assisting the Debtor as Special Conflicts

 Counsel in this Chapter 11 case.

        13.     SFGH intends to apply to the Court for allowance of compensation and

 reimbursement of expenses in accordance with the applicable provisions of the Bankruptcy

 Code, the applicable Bankruptcy Rules and Orders of this Court. Compensation will be payable

 to SFGH in compliance with the above rules and orders, on an hourly basis, plus reimbursement

 of actual, necessary expenses incurred by SFGH.

        14.     Debtor believes that the retention of SFGH is in the best interest of Debtor, its

 estate, creditors, and equity security holders.




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         15.     No prior application has been made for the relief requested herein to this or any

 other Court.

                                            CONCLUSION

         Debtor respectfully requests that this Court enter an order (i) granting this Application;

 (ii) authorizing Debtor to employ and retain SFGH as Special Conflicts Counsel, and

 (iii) granting such other, further and different relief as is just and proper.

         DATED: November 3, 2020.

                                                         /s/     Jeffrey D. Goetz
                                                         Jeffrey D. Goetz, Esq., AT0002832
                                                         Bradshaw Fowler Proctor & Fairgrave P.C.
                                                         801 Grand Avenue, Suite 3700
                                                         Des Moines, IA 50309-8004
                                                         515/246-5817
                                                         515/246-5808 FAX
                                                         goetz.jeffrey@bradshawlaw.com

                                                         Proposed General Reorganization Counsel
                                                         for Metro Concrete, Inc.,
                                                         Debtor and Debtor in Possession




 CERTIFICATE OF SERVICE: This document was served electronically on parties who receive electronic notice
 through CM/ECF as listed on CM/ECF’s notice of electronic filing.

 /s/     Barbara Warner




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                                           EXHIBIT A



        I declare under penalty of perjury under the laws of the United States and the laws of the

State of Iowa and Illinois that I have reviewed the attached Application and to the best of my

knowledge and information, I believe the statements therein to be true and correct.

                                                      /s/ Michael A. Brandess
                                                      Michael A. Brandess, Esq.
                                                      Sugar Felsenthal Grais & Helsinger, LLP
                                                      30 N. LaSalle St. Suite 3000
                                                      Chicago, IL 60602
                                                      (312) 704-2179
                                                      mbrandess@sfgh.com




        I declare under penalty of perjury under the laws of the United States and the laws of the

State of Iowa and Illinois that I have reviewed the attached Application and to the best of my

knowledge and information, I believe the statements therein to be true and correct.



                                                      /s/ Mark S. Melickian
                                                      Mark S. Melickian, Esq.
                                                      Sugar Felsenthal Grais & Helsinger, LLP
                                                      30 N. LaSalle St. Suite 3000
                                                      Chicago, IL 60602
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